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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 In re:                                            )   In Proceedings Under Chapter 7
                                                   )   Honorable Kathy A. Surratt-States
 JOSIAH M. COX and                                 )   Case No.: 14-40765
 LAURA E. COX,                                     )
                                                   )   Adversary Case No. 14-04114
                                Debtors.           )
                                                   )
 JAY R. HERIGODT and                               )   ANSWER TO FIRST AMENDED
 JOY STOWELL,                                      )   COMPLAINT
                                                   )
                                Plaintiffs,        )   Robert E. Eggmann, Esq.
                                                   )   Danielle Suberi, Esq.
 v.                                                )   Desai Eggmann Mason LLC
                                                   )   7733 Forsyth Boulevard, Suite 800
 JOSIAH M. COX,                                    )   St. Louis, Missouri 63105
                                                   )   (314) 881-0800
                               Defendant.          )   reggmann@demlawllc.com
                                                   )   dsuberi@demlawllc.com


               DEFENDANT’S ANSWER TO FIRST AMENDED COMPLAINT

          COMES NOW Defendant Josiah M. Cox (“Debtor” or “Defendant”), by and through his

 undersigned counsel, and for his Answer to the First Amended Complaint filed by Jay R.

 Herigodt and Joy Stowell (collectively, the “Plaintiffs”), states as follows:

          1.    Defendant admits the allegations contained in Paragraph 1 of the First Amended

 Complaint.

          2.    Defendant denies the allegations contained in Paragraph 2 of the First Amended

 Complaint.

          3.    Paragraph 3 of Plaintiffs’ First Amended Complaint states legal conclusion to

 which no response is required. To the extent a response is required, Defendant denies the

 allegations contained in Paragraph 3 of the First Amended Complaint.
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        4.      Paragraph 4 of Plaintiffs’ First Amended Complaint states legal conclusion to

 which no response is required. To the extent a response is required, Defendant denies the

 allegations contained in Paragraph 4 of the First Amended Complaint.

        5.      Defendant admits the allegations contained in Paragraph 5 of the First Amended

 Complaint.

        6.      Defendant is without sufficient knowledge, information or belief with which to

 admit or deny the allegations in Paragraph 6 of the First Amended Complaint, and therefore

 denies such allegations.

        7.      Defendant is without sufficient knowledge, information or belief with which to

 admit or deny the allegations in Paragraph 7 of the First Amended Complaint, and therefore

 denies such allegations.

        8.      Defendant is without sufficient knowledge, information or belief with which to

 admit or deny the allegations in Paragraph 8 of the First Amended Complaint, and therefore

 denies such allegations.

        9.      Defendant denies the allegations contained in Paragraph 9 of the First Amended

 Complaint.

        10.      To the extent Paragraph 9 of the First Amended Complaint sets forth allegations

 against non-parties, such allegations do not require a response from Defendant. In further

 response, Defendant denies all remaining allegations contained in Paragraph 10 of the First

 Amended Complaint.

        11.     Defendant denies the allegations contained in Paragraph 11 of the First Amended

 Complaint.

        12.     To the extent Paragraph 12 of the First Amended Complaint sets forth allegations

 against non-parties, such allegations do not require a response from Defendant. In further

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 response, Defendant denies all remaining allegations contained in Paragraph 12 of the First

 Amended Complaint.

        13.     To the extent Paragraph 13 of the First Amended Complaint sets forth allegations

 against non-parties, such allegations do not require a response from Defendant. In further

 response, Defendant denies all remaining allegations contained in Paragraph 13 of the First

 Amended Complaint.

        14.     To the extent Paragraph 14 of the First Amended Complaint sets forth allegations

 against non-parties, such allegations do not require a response from Defendant. In further

 response, Defendant denies all remaining allegations contained in Paragraph 14 of the First

 Amended Complaint.

        15.     Defendant admits the allegations contained in Paragraph 15 of the First Amended

 Complaint.

        16.     Defendant is without sufficient knowledge, information or belief with which to

 admit or deny the allegations in Paragraph 16 of the First Amended Complaint, and therefore

 denies such allegations.

        17.     Defendant denies the allegations contained in Paragraph 17 of the First Amended

 Complaint.

        18.     Defendant denies the allegations contained in Paragraph 18 of the First Amended

 Complaint.

        19.     Defendant denies the allegations contained in Paragraph 19 of the First Amended

 Complaint.

        20.     Defendant denies the allegations contained in Paragraph 20 of the First Amended

 Complaint.




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        21.    Defendant denies the allegations contained in Paragraph 21 of the First Amended

 Complaint.

        22.    Defendant denies the allegations contained in Paragraph 22 of the First Amended

 Complaint.

        23.    Defendant denies the allegations contained in Paragraph 23 of the First Amended

 Complaint.

        24.    Defendant denies the allegations contained in Paragraph 24 of the First Amended

 Complaint.

        25.    To the extent Paragraph 25 of the First Amended Complaint sets forth allegations

 against non-parties, such allegations do not require a response from Defendant. In further

 response, Defendant denies all remaining allegations contained in Paragraph 25 of the First

 Amended Complaint.

        26.    Paragraph 26 of the First Amended Complaint states legal conclusions to which

 no response is required. To the extent a response is required, Defendant denies the allegations

 contained in Paragraph 26 of the First Amended Complaint.

        27.    Defendant denies the allegations contained in Paragraph 27 of the First Amended

 Complaint.

        28.    Paragraph 28 and subparts (i) through (ii) of the First Amended Complaint state

 legal conclusions to which no response is required. To the extent a response is required,

 Defendant denies the allegations contained in Paragraph 28 and subparts (i) and (ii) of Paragraph

 28 of the First Amended Complaint.

                                 AFFIRMATIVE DEFENSES

      COME NOW Defendant and for his affirmative defenses, states as follows:




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        1.      Plaintiffs’ First Amended Complaint fails to state a cause of action upon which

 relief can be granted.

        2.      Defendant did not enter into any agreement with Plaintiffs and Plaintiffs fail to

 state a cause of action against Defendant individually.

        3.      Plaintiffs first materially breached any alleged agreements that form the basis of

 their claims, and therefore, Plaintiffs are not entitled to recover thereon. Plaintiffs’ breaches

 include, but are not limited to, their breach of the duty of good faith and fair dealing, fraud, and

 their failure to provide Defendant with proper credits and/or set-offs.

        4.      Plaintiffs’ First Amended Complaint fails to properly credit or provide a proper

 set-off for amounts paid by or on behalf of Defendant.

        5.      Plaintiffs are estopped from enforcing the agreements sued upon against

 Defendant.

        6.      Plaintiffs waived their right to enforce the agreements upon which it has sued.

        7.      Plaintiffs’ damages, if any, should be barred and/or reduced because Plaintiffs

 failed to mitigate their alleged damages.

        8.      Defendant hereby incorporates by reference any other and further affirmative

 defenses made known through the course of discovery in this matter, and reserves the right to so

 amend his affirmative defenses.




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                                      Respectfully submitted,


                                       DESAI EGGMANN MASON LLC

                                             /s/ Danielle Suberi
                                       By: ______________________________________
                                           ROBERT E. EGGMANN (#37374MO)
                                           DANIELLE SUBERI (#59688MO)
                                           7733 Forsyth Boulevard, Suite 800
                                           St. Louis, Missouri 63105
                                           (314) 881-0800
                                           Fax No. (314) 881-0820
                                           reggmann@demlawllc.com
                                           dsuberi@demlawllc.com

                                       ATTORNEYS FOR DEFENDANT JOSIAH M. COX


                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
 pleading was served by electronic filing in the CM/ECF system of the United States Bankruptcy
 Court for the Eastern District of Missouri or via U.S. Mail, postage prepaid, this 9th day of
 September, 2014, to:

 Office of the U.S. Trustee
 111 South Tenth Street, Suite 6353
 St. Louis, MO 63102

 Stuart Jay Radloff, Esq.
 Chapter 7 Trustee
 13321 N. Outer 40 Road, Suite 800
 St. Louis, MO 63017

 Peter D. Kerth
 Jenkins & Kling, P.C.
 150 N. Meramec Ave., Suite 400
 St. Louis, MO 63105

 Jason Charpentier, Esq.
 Growe, Eisen, Karlen
 7733 Forsyth Blvd., Ste. 325
 St. Louis, MO 63105

                                                       /s/ Danielle Suberi



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